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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


In Re:                                               §
                                                     §          Civil Action No. 4:22-cv-00664
                                                     §
KP ENGINEERING, LP                                   §
     Debtor                                          §          Bankruptcy Case No. 19-3707
                                                     §
CREDOS INDUSTRIAL SUPPLIES &                         §
RENTALS, LLC                                         §
    Appellant                                        §

     UNOPPOSED MOTION OF APPELLANT, CREDOS INDUSTRIAL SUPPLIES
              & RENTALS, LLC d/b/a CREDOS FABRICATIONS
         FOR AN EXTENSION OF TIME TO FILE APPELLANT’S BRIEF

         Appellant, Credos Industrial Supplies & Rentals, LLC d/b/a Credos Fabrications

(“Appellant”) respectfully moves this Court for the entry of an order extending the time for it to

file its Appellant’s Brief, up to and including Friday, May 13, 2022. Counsel for Appellant has

conferred with counsel for Appellee, Joshua Wolfshohl, and Appellee does not oppose the

requested extension. In further support of this Motion, Appellant states as follows:

         1.    On March 11, 2022, Appellant filed its Designations of Record and Statement of

Issues on Appeal.

         2.    Appellant’s Brief is presently due to be filed on or before April 27, 2022.

         3.    Appellant has requested and Appellee has agreed to an extension up and through

May 13, 2022 to file its Appellant’s Brief. Good cause exists for this request.

         5.    This request for extension is not sought for delay, but so that justice may be done.

         6.    This is Appellant’s first requested extension.




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       WHEREFORE, Appellant respectfully requests that the Court extend the time by which it

must file its Appellant’s Brief up to and including May 13, 2022.

                                                      Respectfully submitted,

                                               By: /s/Michael P. Ridulfo
                                                   Michael P. Ridulfo
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                                                    COUNSEL FOR CREDOS INDUSTRIAL
                                                    SUPPLIES & RENTALS, LLC d/b/a
                                                    CREDOS FABRICATIONS




                              CERTIFICATE OF CONFERENCE

       I certify that on April 18, 2022, the undersigned conferred with Appellee’s counsel,
Joshua Wolfshohl, who advised that this Motion is unopposed.

                                                      /s/Michael P. Ridulfo
                                                      Michael P. Ridulfo



                                 CERTIFICATE OF SERVICE

        I certify that on April 20, 2022, I electronically filed the foregoing with the Clerk of the
Court by using the CM/ECF system, which will send notice of electronic filing to all counsel of
record.



                                                      /s/Michael P. Ridulfo
                                                      Michael P. Ridulfo




                                                                                9229593 v1 (72759.00002.000)
